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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON
                                   EUGENE DIVISION

   Elizabeth HUNTER; et al., on behalf of            )
   themselves and all others similarly situated,     )
                                                     )       Case No. 6:21-cv-00474-AA
                                Plaintiffs,          )
                    v.                               )       DECLARATION OF PAUL
                                                     )       CARLOS SOUTHWICK
    U.S. DEPARTMENT OF EDUCATION and                 )
    Suzanne GOLDBERG, in her official capacity as    )
    Acting Assistant Secretary for Civil Rights,     )
    U.S. Department of Education,                    )
                                                     )
                                Defendants.          )

I, Paul Carlos Southwick, declare:

   1. I am over 18 years of age and have personal knowledge of the matters stated in this
      declaration and would testify truthfully to them if called upon to do so.

   2. Exhibit A is Title IX Exemption Request(s) and Response(s) for Baylor University.

   3. Exhibit B is Title IX Exemption Request(s) and Response(s) for Bob Jones University.

   4. Exhibit C is Title IX Exemption Request(s) and Response(s) for Brigham Young
      University - Utah and Idaho.

   5. Exhibit D is Title IX Exemption Request(s) and Response(s) for Cedarville University.



PAUL CARLOS SOUTHWICK DECLARATION                                                             1
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  6. Exhibit E is Title IX Exemption Request(s) and Response(s) for Clarks Summit
     University.

  7. Exhibit F is Title IX Exemption Request(s) and Response(s) for College of the Ozarks.

  8. Exhibit G is Title IX Exemption Request(s) and Response(s) for Colorado Christian
     University.

  9. Exhibit H is Title IX Exemption Request(s) and Response(s) for Dordt University.

  10. Exhibit I is Title IX Exemption Request(s) and Response(s) for George Fox University.

  11. Exhibit J is Title IX Exemption Request(s) and Response(s) for Indiana Wesleyan
      University.

  12. Exhibit K is Title IX Exemption Request(s) and Response(s) for Lee University.

  13. Exhibit L is Title IX Exemption Request(s) and Response(s) for Liberty University.

  14. Exhibit M is Title IX Exemption Request(s) and Response(s) for Oklahoma Baptist
      University.

  15. Exhibit N is Title IX Exemption Request(s) and Response(s) for Toccoa Falls College.

  16. Exhibit O is Title IX Exemption Request(s) and Response(s) for Union University.

  17. Exhibit P is Title IX Exemption Request(s) and Response(s) for York College

  18. Exhibit Q is a chart documenting exemptions to Title IX statutes granted to colleges and
      universities attended by Plaintiffs.

  19. Exhibit R documents controlling organizations for colleges and universities attended by
      Plaintiffs.

  20. Exhibit S is a Statement of Closure for a Title IX Complaint against Brigham Young
      University - Idaho.

  21. Exhibit T is a Statement of Closure for a Title IX Complaint against George Fox
      University.

  22. Exhibit U is a Statement of Closure for a Title IX Complaint against Liberty University.

  23. Exhibit V is a Statement of Closure for a Title IX Complaint against Spring Arbor
      University.

  24. Exhibit W is a chart documenting federal funding for colleges and universities attended
      by Plaintiffs.

  25. Exhibit X is a Title IX case processing manual for the Office for Civil Rights of the DoE.


PAUL CARLOS SOUTHWICK DECLARATION                                                                2
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    Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true and
correct, and that this declaration was executed this 6th day of August, 2021.



                                             By: s/Paul Carlos Southwick
                                             Paul Carlos Southwick




PAUL CARLOS SOUTHWICK DECLARATION                                                                3
